                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

TRACY COLE, TALEAVIA COLE, TAHUDAH COLE, TRISTIANA WALLS, KATHRYN
KNOWLTON, DANA McCORMICK, ANDREW AARON, KAMILA AHMED, ROBERT
AGNEW, ISIAH BALDWIN, JACQUELINE BOGENBERGER, LAVITA BOOKER,
REBECCA BURRELL, RAINE CICH, KHALIL COLEMAN, STEVEN CONKLIN, LAURYN
CROSS, RACHEL DULAY, ANNE DELESSIO-PARSON, ERIK FANNING, JESSICA
FENNER, JILL FERGUSON, BREON FOSTER, JOANNA GEISLER, CHRISTINE GROPPI,
GAIGE GROSSKREUTZ, JOSEPH HAYES, PERCY HAYES, DESTINEY JONES, ADANTE
JORDAN, MARY KACHELSKI, SEAN KAFER, JOEY KOEPP, JOHN LARRY, ALEX
LARSON, SONORA LARSON, HOLLY LAVORA, LAZARITO MATHEU, VAUN MAYES,
MOLLY NILSSEN, SHAWN PAGE, CARMEN PALMER, (JUVENILE) PALMER 1,
(JUVENILE) PALMER 2, LEAH PORTER, AIDALI RIVERA, WILLIAM RIVERA,
HECTOR RODRIGUEZ, JOSE HERNANDEZ RAMIREZ, OSCAR CONCEPCION
RODRIGUEZ, ROSALIND ROGERS, NATHAN SABEL, WILLIAM SCHROEDER,
MADELIENE SCHWEITZER, MARIAH SMITH, PETER SPARKS, TIFFANY STARK,
ANGEL VEGA, CHRISTINA VITOLO-HADDAD, GABRIELLA VITUCCI, OSCAR
WALTON, JAYDEN WELCH, BRITTA WELCH, SUZANNE WELLS, BRANDON
WILBORN, TRISHA WILSON, KATELYN WOJNAR, SONJA WORTHY, and MEMBERS
OF THE PEOPLE’S REVOLUTION, AN UNINCORPORATED ENTITY, hereinafter referred
to as (TPR), on behalf of themselves and all others similarly situated,

                    Plaintiffs.
v.                                                          CASE NO. 20 CV 01660

CITY OF WAUWATOSA,
CITY OF WAUWATOSA CHIEF OF POLICE BARRY WEBER, in his official capacity,
DENNIS McBRIDE, in his official and individual capacity,
DOMINICK RATKOWSKI, in his official capacity,
GEORGE SCHIMMEL, in his official capacity,
LUKE VETTER in his official capacity, JEFFREY FARINA, in his official capacity,
JOSEPH ROY, in his official capacity, JOSEPH LEWANDOWSKI, in his official capacity,
MARTIN KECK, in his official capacity, SHANE WRUCKE, in his official capacity,
KATHY CAUSIER, in her official capacity, and
JOHN DOES OFFICERS in their official capacities,

                  Defendants.
______________________________________________________________________________

    DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS=
                        THIRD AMENDED COMPLAINT
____________________________

      Defendants, City of Wauwatosa, Barry Weber, Dennis McBride, Dominick Ratkowski,

                                           1

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George Schimmel, Luke Vetter, Jeffrey Farina, Joseph Roy, Joseph Lewandowski, Martin Keck,

Shane Wrucke, and Kathy Causier, by their attorneys, Gunta Law Offices, S.C., submit their

Answer to Plaintiffs= Third Amended Complaint (Dkt. No. 54) as follows:

                                    I.       INTRODUCTION

       1.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       2.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       3.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       4.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       5.      Admit that this is a civil action brought pursuant to 42 U.S.C. § 1983. Deny that

Plaintiffs have suffered a constitutional violation; that the City of Wauwatosa and Mayor Dennis

McBride issued “unlawful emergency orders;” or that Chief Barry Weber enforced any “unlawful

emergency orders.”

       6.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       7.      Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       8.      Deny.

       9.      Deny.

       10.     Deny.



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       11.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       12.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       13.    Admit that during his June 23, 2021 deposition, Defendant Dominick Ratkowski

testified that on or around June 5, 2020 he began compiling a list of individuals who were present

at protests in Wauwatosa during the summer of 2020. Deny the remaining allegations.

                                  II.     JURISDICTION AND VENUE

       14.    Admit.

       15.    Admit.

                           III.     THE PARTIES TO THIS COMPLAINT

       16.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny the same.

       17.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny the same.

       18.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       19.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       20.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       21.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       22.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       23.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       24.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       25.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       26.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       27.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       28.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       29.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       30.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       31.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       32.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       33.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 4

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       34.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       35.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       36.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       37.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       38.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       39.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       40.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       41.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       42.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       43.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       44.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       45.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       46.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       47.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       48.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       49.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       50.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       51.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       52.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       53.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       54.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       55.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       56.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       57.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       58.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       59.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       60.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       61.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       62.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       63.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       64.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       65.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       66.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       67.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       68.     Admit that at some time on October 10, 2020 Plaintiff Sparks was in Wauwatosa.

As to the remaining allegations, lack knowledge and information sufficient to form a belief as to

the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       69.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       70.     Admit that at some time on October 9, 2020 Plaintiff Vega was in Wauwatosa. As

to the remaining allegations, lack knowledge and information sufficient to form a belief as to the

truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       71.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       72.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       73.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       74.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       75.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       76.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       77.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       78.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                  8

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       79.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       80.     Admit.

       81.     Admit.

       82.     Admit.

       83.     Upon information and belief, admit.

       84.     Upon information and belief, admit.

       85.     Upon information and belief, admit.

       86.     Upon information and belief, admit.

       87.     Upon information and belief, admit.

       88.     Upon information and belief, admit.

       89.     Upon information and belief, admit.

       90.     Upon information and belief, admit.

       91.     Lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

               IV.         HISTORICAL BACKGROUND OF RACIAL ISSUES IN
                     WAUWATOSA AND THE WAUWATOSA POLICE DEPARTMENT

       92.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       93.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       94.     Lack knowledge and information sufficient to form a belief as to the truth or falsity


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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       95.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       96.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       97.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       98.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       99.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       100.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       101.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       102.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       103.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       104.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       105.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       106.    Admit that Barry Weber was hired as Police Chief in 1990. Lack knowledge and

information sufficient to form a belief as to the truth or falsity of the remaining allegations in this

Paragraph, and therefore deny and put Plaintiffs to their proof.

       107.    Deny.

       108.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       109.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       110.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       111.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       112.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       113.    Upon information and belief, admit.

       114.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       115.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       116.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       117.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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        118.    Upon information and belief, admit.

                                         V.      BACKGROUND

        119.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        120.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        121.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        122.    Admit that Officer Mensah used deadly force to stop the threat posed by Alvin

Cole, who at Mayfair Mall had pointed and attempted to fire a handgun at Officers.

        123.    Admit that Officer Mensah shot and killed Jay Anderson Jr. on June 23, 2016 and

Antonio Gonzalez on July 15, 2015 and that both shootings were investigated and determined to

be justified uses of force.

        124.    Upon information and belief, admit.

        125.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        126.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        127.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        128.    Deny.

        129.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       130.    Upon information and belief, admit.

       131.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       132.    Admit.

       133.    Admit.

       134.    Deny.

               V.       CITY OF WAUWATOSA’S Curfew from October 7 – 12, 2020

                        A.     BACKGROUND

       135.    Upon information and belief, admit.

       136.    Admit.

       137.    Deny.

       138.    Deny.

       139.    Admit that Defendant Weber’s deposition testimony was that he was not aware of

Mayor McBride telling him about any credible threats in regard to September 30th.

       140.    Upon information and belief, admit.

       141.    Upon information and belief, admit.

       142.    Admit.

       143.    Deny.

       144.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       145.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       146.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       147.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       148.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       149.    Admit.

       150.    Admit that Wis. Stat. §323.14(4)(b) provides the following: If, because of the

emergency conditions, the governing body of the local unit of government is unable to meet

promptly, the chief executive officer or acting chief executive officer of any local unit of

government shall exercise by proclamation all of the powers conferred upon the governing body

under par. (a) or s. 323.11 that appear necessary and expedient. The proclamation shall be subject

to ratification, alteration, modification, or repeal by the governing body as soon as that body can

meet, but the subsequent action taken by the governing body shall not affect the prior validity of

the proclamation.

       151.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       152.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       153.    Admit.

       154.    Admit that Wis. Stat. § 323.14(4)(b) provides the following: If, because of the

emergency conditions, the governing body of the local unit of government is unable to meet

promptly, the chief executive officer or acting chief executive officer of any local unit of

government shall exercise by proclamation all of the powers conferred upon the governing body

                                                 14

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under par. (a) or s. 323.11 that appear necessary and expedient. The proclamation shall be subject

to ratification, alteration, modification, or repeal by the governing body as soon as that body can

meet, but the subsequent action taken by the governing body shall not affect the prior validity of

the proclamation.

       155.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       156.    Deny.

       157.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       158.    Deny.

       159.    Admit.

       160.    This paragraph mischaracterizes the testimony of Chief Weber. As further

response, lack knowledge and information sufficient to form a belief as to the truth or falsity of

this Paragraph and, therefore, deny and put Plaintiffs to their proof.

       161.    Deny.

       162.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

               B.       PLAINTIFFS’ ALLEGATIONS as to the Curfew in Wauwatosa from
                        October 7, 2020 – October 12, 2020

                        i.     Plaintiffs Kate Knowlton and Dana McCormick – October 10,
                               2020

       163.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       164.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       165.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       166.    Deny the characterization that “Plaintiffs were forcibly arrested without the ability

to comply with the dispersal order” and deny that any of these answering Defendants violated any

of the Plaintiffs’ constitutional rights. As to the remaining unspecific allegations, lack knowledge

and information sufficient to form a belief as to the truth or falsity of this Paragraph and, therefore,

deny and put Plaintiffs to their proof.

       167.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       168.    Admit that at approximately 7:30 the crowd control team issued “unlawful

assembly” announcements to the crowd over a PA speaker. As to the remaining unspecific

allegations, lack knowledge and information sufficient to form a belief as to the truth or falsity of

this Paragraph, and therefore deny and put Plaintiffs to their proof.

       169.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       170.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       171.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       172.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       173.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       174.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       175.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       176.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       177.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       178.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       179.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       180.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       181.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       182.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       183.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       184.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 17

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       185.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       186.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       187.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       188.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       189.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       190.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       191.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       192.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       193.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       194.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       195.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       196.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 18

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       197.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       198.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       199.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       200.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       201.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       202.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       203.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       204.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       205.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       206.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       207.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 19

      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 19 of 138      Document 65
       208.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       209.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       210.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       211.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       212.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       213.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       214.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       215.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       216.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       217.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ii.     Plaintiffs Tahudah Cole, Taleavia Cole, Tristiana Griggs, &
                               Tracy Cole – October 8, 2020

       218.    Lack knowledge and information sufficient to form a belief as to the truth or falsity


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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       219.    Upon information and belief, admit.

       220.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       221.    Admit.

       222.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       223.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       224.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       225.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       226.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       227.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       228.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       229.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       230.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 21

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       231.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       232.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       233.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       234.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       235.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       236.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       237.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       238.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       239.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       240.    Deny.

       241.    Deny.

       242.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       243.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 22

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       244.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       245.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       246.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       247.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       248.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       249.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       250.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       251.    Deny that “excessive force” caused physical injuries. As to the remaining

allegations, lack knowledge and information sufficient to form a belief as to the truth or falsity of

this Paragraph, and therefore deny and put Plaintiffs to their proof.

       252.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       253.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       254.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 23

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       255.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       256.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       257.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       258.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       259.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       260.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       261.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       262.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       263.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       264.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       265.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 24

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       266.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       267.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       268.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       269.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       270.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       271.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       272.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       273.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       274.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       275.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       276.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       277.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 25

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       278.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       279.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       280.    Upon information and belief, admit.

       281.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       282.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       283.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       284.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       285.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       286.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       287.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       288.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       289.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 26

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       290.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       291.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       292.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       293.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       294.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       295.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       296.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       297.    Admit.

       298.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       299.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       300.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       301.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 27

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       302.    Deny.

       303.    Admit.

       304.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       305.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       306.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       307.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       308.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       309.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                        iii.   William Rivera, Aidali Rivera, Hector Rodriguez, and Lazarito
                               Matheu – October 9, 2020

       310.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       311.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       312.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.


                                                 28

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       313.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       314.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       315.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       316.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       317.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       318.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       319.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       320.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       321.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       322.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       323.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       324.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 29

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       325.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       326.    Deny that Detective Timothy Warren said to Mr. Rivera “at this time it doesn’t

matter because you are black.” As to the remaining unspecific allegations, lack knowledge and

information sufficient to form a belief as to the truth or falsity of this Paragraph, and therefore

deny and put Plaintiffs to their proof.

       327.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       328.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       329.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       330.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       331.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       332.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       333.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       334.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 30

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       335.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       336.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       337.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       338.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       339.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       340.    Admit that the Emergency Proclamation excluded individuals traveling to and from

work. As to the remaining comments, lack knowledge and information sufficient to form a belief

as to the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       341.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       342.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       343.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       344.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       345.    Upon information and belief, admit.

       346.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                  31

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       347.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       348.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       349.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       350.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       351.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       352.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       353.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       354.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       355.    Upon information and belief, admit.

       356.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       357.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       358.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 32

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       359.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       360.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       361.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       362.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       363.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       364.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       365.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       366.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       367.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       368.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       369.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 33

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       370.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       371.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       372.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       373.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       374.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       375.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       376.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       iv.     Jackie Bogenberger, Raine Cich, Gabriella Vitucci, Angel Vega,
                               & Katelyn Wojnar October 9, 2020

       377.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       378.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       379.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       380.    Lack knowledge and information sufficient to form a belief as to the truth or falsity


                                                 34

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       381.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       382.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       383.    Deny.

       384.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       385.    Deny.

       386.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       387.    Deny.

       388.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       389.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       390.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       391.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       392.    Deny.

       393.    Admit that Bogenberger’s phone was confiscated. As to the remaining allegations,

lack knowledge and information sufficient to form a belief as to the truth or falsity of this

                                                 35

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Paragraph, and therefore deny and put Plaintiffs to their proof.

       394.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       395.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       396.    Admit.

       397.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       398.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       399.    Deny.

       400.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       401.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       402.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       403.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       404.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       405.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       406.    Admit.

       407.    Admit.

       408.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       409.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       410.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       411.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       412.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       413.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       414.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       415.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       416.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       417.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       418.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 37

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       419.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       420.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       421.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       422.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       423.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       424.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       425.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       426.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       427.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       428.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       429.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 38

      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 38 of 138      Document 65
       430.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       431.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       432.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       v.      Joanna Geisler and William Schroeder – October 9, 2020

       433.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       434.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       435.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       436.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       437.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       438.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       439.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       440.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 39

      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 39 of 138      Document 65
       441.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       442.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       443.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       444.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       445.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       446.    Admit.

       447.    Deny.

       448.    Admit.

       449.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       450.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       451.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       452.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       453.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       454.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vi.     Anne Delessio-Parson – October 9, 2020

       455.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       456.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       457.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       458.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       459.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       460.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       461.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       462.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       463.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       464.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 41

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       465.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       466.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       467.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       468.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       470.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       471.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       472.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       473.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       474.    Admit.

       475.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       476.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 42

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       477.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       478.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       479.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       480.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       481.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       482.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vii.    Holly Lavora and Nathan Sabel – October 8, 2020

       483.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       484.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       485.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       486.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       487.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 43

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       488.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       489.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       490.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       491.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       492.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       493.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       494.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       495.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       496.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       497.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       498.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       499.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       500.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       501.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       502.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       503.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       504.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       505.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       506.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       507.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       508.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       509.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       510.    Deny.

       511.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 45

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       512.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       513.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       514.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       515.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       viii.   Rachel Dulay and Jose Hernandez Ramirez – October 8, 2020

       516.    Upon information and belief, admit.

       517.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       518.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       519.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       520.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       521.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       522.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 46

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       523.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       524.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       525.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       526.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       527.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       528.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       529.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       530.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       531.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       532.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       533.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       534.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       535.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       536.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       538.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       540.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       541.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       542.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       543.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       544.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       545.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       546.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       547.    Admit.

       548.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       549.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       550.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                        ix.    Oscar Concepcion – October 7, 2020

       551.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       552.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       555.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       556.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       557.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       558.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       559.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       560.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       563.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       564.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       565.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       566.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       567.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       568.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 50

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       569.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       570.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       571.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       572.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       573.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       574.    Admit.

       575.    Admit.

       576.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       577.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       578.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       579.    Admit.

       580.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.


               x.       Leah Porter, Christina Vitolo Haddad, and Sonja Worthy –
                        October 10, 2020

                                                 51

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       581.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       582.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       583.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       584.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       585.    Admit.

       586.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       587.    Upon information and belief, admit.

       588.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       589.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       590.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       591.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       592.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.


                                                 52

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       593.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       594.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       595.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       596.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       597.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       598.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       599.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       600.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       601.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       602.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       603.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       604.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 53

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       605.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       606.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       607.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       608.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       609.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       610.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       611.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       x.      Destiney Jones – October 8, 2020

       612.    Upon information and belief, admit.

       613.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       614.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       615.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 54

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       616.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       617.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       618.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       619.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       620.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       621.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       622.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       623.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       624.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       625.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       626.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       627.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 55

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       628.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       629.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       630.    Admit.

       631.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       632.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       633.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       634.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       635.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       636.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       637.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       638.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                        xi.    Erik Fanning and Sonora Larson – October 8, 2020

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       639.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       640.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       641.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       642.    Deny that “excessive force” was used. As to the remaining allegations, lack

knowledge and information sufficient to form a belief as to the truth or falsity of this Paragraph,

and therefore deny and put Plaintiffs to their proof.

       643.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       644.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       645.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       646.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       647.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       648.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       649.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 57

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       650.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       651.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       652.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       653.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       654.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       655.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       656.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       657.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       658.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       659.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xii.    Breon Foster – October 9, 2020

       660.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       661.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       662.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       663.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       664.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       665.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       666.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       667.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       668.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       669.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       670.    Deny the characterization that Detective Lewandowski “made Plaintiff go into the

interrogation room to be questioned.” As to the remaining allegations, lack knowledge and

information sufficient to form a belief as to the truth or falsity of this Paragraph, and therefore

deny and put Plaintiffs to their proof.

       671.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       672.    Upon information and belief, admit.

       673.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       674.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       675.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       676.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       677.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       678.    Admit that Breon Foster voluntarily consented to provide Detective Lewandowski

with a saliva sample for DNA purposes.

       679.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       680.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       681.    Admit.

       682.    Admit.

       683.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       684.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 60

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       685.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xiii.   Jill Ferguson – October 11, 2020

       686.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       687.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       688.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       689.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       690.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       691.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       692.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       693.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       694.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       695.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 61

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       696.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       697.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       698.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       699.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       700.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       701.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       702.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       703.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       704.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       705.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       706.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 62

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       707.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       708.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       709.    Admit that Jill Ferguson was issued a citation in the amount of $1,321.00 and the

issuing individual was Lt. Farina.

       710.    Admit.

       711.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       712.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       713.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       714.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       715.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       716.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       717.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       718.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 63

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       719.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       720.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       721.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       722.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       723.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       724.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       725.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       726.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       727.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       728.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       729.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       730.    Upon information and belief, admit.

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        731.     Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        732.    Admit that Peter Sparks was issued a citation in the amount of $1,321.00 and the

issuing individual was Lt. Farina.

        733.    Admit.

        734.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        735.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        736.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                         xv.     Carmen Palmer, (Juvenile Male) Palmer and (Juvenile Female)
                                 Palmer – October 8, 2020

        737.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        738.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph specifically with regards to the undefined term “kettled,”and therefore deny and

put Plaintiffs to their proof.

        739.    Admit that Plaintiffs were ordered out of their vehicle. As to the remaining

allegations, lack knowledge and information sufficient to form a belief as to the truth or falsity of

this Paragraph and therefore deny and put Plaintiffs to their proof.

        740.    Deny.

        741.    Lack knowledge and information sufficient to form a belief as to the truth or falsity


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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       742.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       743.    Admit that Plaintiffs were handcuffed. As to the remaining allegations, lack

knowledge and information sufficient to form a belief as to the truth or falsity of this Paragraph,

and therefore deny and put Plaintiffs to their proof.

       744.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       745.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       746.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       747.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       748.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       749.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       750.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       751.    Admit.

       752.    Upon information and belief, admit.

       753.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       754.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       755.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       756.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       757.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       758.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xvi.    Molly Nilssen – October 10, 2020

       759.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       760.    Admit that Plaintiff Nilssen was arrested after 7:00 p.m. on October 10, 2020.

       761.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       762.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       763.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       764.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       765.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       766.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       767.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       768.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       769.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       770.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       771.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       772.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       773.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       774.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       775.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       776.    Admit.

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       777.    Admit.

       778.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                        xix.   Suzanne Wells – October 8, 2020

       779.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       780.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       781.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       782.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       783.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       784.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       785.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       786.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       787.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       788.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       789.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       790.    Admit.

       791.    Admit.

       792.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       793.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       794.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       795.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       796.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       VI.     PROTESTING IN WAUWATOSA August 13, 2020 – September 30, 2020

               A.       PLAINTIFF’S ALLEGATIONS

                        i.     Khalil Coleman – August 13, August 14, 2020, September 17,
                               and September 29, 2020

       797.    Admit that Khalil Coleman was in Wauwatosa on August 13, August 14, 2020,

September 17, and September 29, 2020. As to the remaining allegations, lack knowledge and

information sufficient to form a belief as to the truth or falsity of this Paragraph, and therefore

deny and put Plaintiffs to their proof.


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        798.    Admit.

        799.    Admit.

        800.    Admit that on September 24, 2020, Plaintiff was mailed a citation in the amount of

$691 for violating Ordinance No. 750030 and that on October 1, 2020, Plaintiff was mailed a

citation in the amount of $1321 for violating Ordinance No. 750030.

        801.    Deny.

                         ii.    Mariah Smith – August 13, 2020 and September 5, 2020

        802.    Admit that Mariah Smith was in Wauwatosa on August 13, 2020. As to the

remaining allegations, lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        803.    Deny.

        804.    Admit that Mariah Smith was in Wauwatosa on September 5, 2020. As to the

remaining allegations, lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        805.    Deny.

                         iii.   Brandon Wilborn – August 14, 2020 and September 30, 2020

        806.    Admit that Brandon Wilborn was in Wauwatosa on August 14, 2020 and September

30, 2020. As to the remaining allegations, lack knowledge and information sufficient to form a

belief as to the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        807.    Deny.

        808.    Deny.

        809.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       810.    Deny.

                        iv.    Andrew Aaron – August 13, 2020

       811.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       812.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       813.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       814.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       815.    Admit.

       816.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       817.    Deny.

       818.    Deny.

       819.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       820.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       821.    Admit.

       822.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       823.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       824.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                        v.     Joey Koepp – September 3, 2020

       825.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       826.    Admit that on September 3, 2020 Joseph Robert Koepp was issued three citations.

Deny that the citations were issued “in retaliation for protesting.”

       827.    Deny.

       828.    Deny.

                        vi.    Sean Kafer – August 14, 2020

       829.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       830.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       831.    Admit.

       832.    Deny.

                        vii.   Steven Conklin – September 30, 2020

       833.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       834.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       835.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        836.    Admit that on October 1, 2020, Steven Conklin was mailed citation for violation of

Ordinance No. 750030. As to the remaining allegations, lack knowledge and information sufficient

to form a belief as to the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to

their proof.

        837.    Deny.

                         viii.     Kamila Ahmed – August 30, 2020

        838.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        839.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        840.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        841.    Admit.

        842.    Admit.

        843.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        844.    Admit that on November 11, 2020 Plaintiff was mailed a ticket for violating

Ordinance No. 750030.            As to the remaining allegations, lack knowledge and information

sufficient to form a belief as to the truth or falsity of this Paragraph, and therefore deny and put

Plaintiffs to their proof.

        845.    Deny.

                         ix.       Jacqueline Bogenberger – September 30, 2020

                                                   74

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       846.    Admit that Plaintiff Jacqueline Bogenberger was in Wauwatosa on September 5,

2020. As to the remaining allegations, lack knowledge and information sufficient to form a belief

as to the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       847.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       848.    Admit that on October 1, 2020 Plaintiff was mailed a ticket for violating Ordinance

No. 750030.

       849.    Deny.

                       viii.   Robert Agnew – September 5, 2020

       850.    Admit that Plaintiff Agnew was in Wauwatosa on September 5, 2020. As to the

remaining allegations, lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       851.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       852.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       853.    Deny.

       854.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       855.    Deny that WPD created and/or fabricated records. As to the remaining allegations,

lack knowledge and information sufficient to form a belief as to the truth or falsity of this

Paragraph, and therefore deny and put Plaintiffs to their proof.

       856.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       857.    Deny.

                        xi.     Gabriella Vitucci – August 13 and August 14, 2020

       858.    Admit that Plaintiff Vitucci was in Wauwatosa on August 13 and August 14, 2020.

As to the remaining allegations, lack knowledge and information sufficient to form a belief as to

the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       859.    Admit that on August 26, 2020 Plaintiff was mailed a citation for violating

Ordinance No. 7020118O.

       860.    Deny.

       861.    Deny.

                        xii.    Joseph Hayes – August 14, 2020

       862.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       863.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       864.    Admit.

       865.    Deny.

                        xiii.   Rosalind Rogers – September 5, 2020

       866.    Admit that Plaintiff Rogers was in Wauwatosa on September 5, 2020. As to the

remaining allegations, lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       867.    Admit that Plaintiff Rogers was issued a citation for violation of Ordinance No.

750030. As to the remaining allegations, lack knowledge and information sufficient to form a

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belief as to the truth or falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        868.    Admit.

        869.    Deny.

                         xiv.   Isiah Baldwin – September 5, 2020 and October 10, 2020

        870.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        871.    Deny that Isaiah Baldwin was given a citation for disorderly conduct on September

5, 2020.

        872.    Deny.

        873.    Deny.

        874.    Lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

        875.    Admit that on October 10, 2020 Isaiah Baldwin was cited for violation of the

emergency order.

        876.    Admit that Wis. Stat. § 323.28 provides that “Whoever intentionally fails to comply

with an order issued by an agent of the state or of a local unit of government who is engaged in

emergency management activities under this chapter, including training exercises, is subject to a

forfeiture of not more than $200.”

        VII.    RELEASE OF PERSONAL INFORMATION & FABRICATED or
                “GHOST” ARREST DOCUMENTS CREATED BY THE WPD RELEASED
                TO THE PUBLIC ON JANUARY 7, 2021


                A.       BACKGROUND

        877.    Lack knowledge and information sufficient to form a belief as to the truth or falsity


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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       878.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

               B.       DEFENDANTS’ RELEASE TO THE PUBLIC PLAINTIFS’
                        PERSONAL INFORMATION RETRIEVED FROM MOTOR
                        VEHICLE RECORDS


       879.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       880.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       881.    Admit.

       882.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       883.    Admit.

       884.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       885.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       886.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       887.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       888.    Deny that WPD fabricated arrest records. As to the remaining allegations, lack


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knowledge and information sufficient to form a belief as to the truth or falsity of this Paragraph,

and therefore deny and put Plaintiffs to their proof.

       889.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       890.    Deny that WPD fabricated arrest records. As to the remaining allegations, lack

knowledge and information sufficient to form a belief as to the truth or falsity of this Paragraph,

and therefore deny and put Plaintiffs to their proof.

               C.      PLAINTIFF’S ALLEGATIONS as to WPD RELEASE OF
                       PERSONAL INFORMATION: UNREDACTED CITATIONS,
                       FABRICATED ARREST RECORDS, AND POLICE REPORTS

                       i.      Tracy Cole


       891.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       892.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       893.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       894.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ii.     Taleavia Cole

       895.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       896.    Lack knowledge and information sufficient to form a belief as to the truth or falsity


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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       897.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       898.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vi.     Andrew Aaron

       899.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       900.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       901.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       902.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vii.    Kamila Ahmed

       903.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       904.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       905.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       906.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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                       viii.   Robert Agnew

       907.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       908.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       909.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       910.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ix.     Isiah Baldwin

       911.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       912.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       913.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       914.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       x.      Jacqueline Bogenberger

       915.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       916.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       917.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       918.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xii.    Raine Cich

       919.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       920.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       921.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       922.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xii.    Khalil Coleman

       923.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       924.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       925.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       926.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xiii.   Steven Conklin

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       927.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       928.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       929.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       930.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xv.     Anne Delessio-Parson

       931.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       932.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       933.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       934.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xvi.    Kimberly Dood

       935.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       936.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       937.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       938.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xvi.    Rachel Dulay

       939.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       940.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       941.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       942.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xvi.    Erik Fanning

       943.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       944.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       945.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       946.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xvii.   Jill Ferguson

       947.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       948.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       949.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       950.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xviii. Breon Foster

       951.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       952.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       953.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       954.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xix.    Joanna Geisler

       955.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       956.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       957.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                                                 85

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       958.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xx.     Joseph Hayes

       959.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       960.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       961.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       962.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxi.    Percy Hayes

       963.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       964.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       966.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxii.   Destiney Jones

       967.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       968.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       969.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       970.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxiii. Mary Kachelski

       971.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       972.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       974.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxiv. Sean Kafer

       975.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       976.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       977.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       978.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxv.    Kathryn Knowlton

       979.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       980.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       982.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxvi. Joey Koepp

       983.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       984.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxvii. John Larry

       987.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       988.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       990.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxviii. Alex Larson

       991.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       992.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       994.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxix. Sonora Larson

       995.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       996.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                                                 89

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       997.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       998.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxx.    Holly Lavora

       999.    Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1000. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1001. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1002. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxi. Dana McCormick

       1003. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1004. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1006. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxii. Molly Nilssen

                                                 90

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       1007. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1008. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1009. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1010. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxiii. Carmen Palmer

       1011. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1012. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1013. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1014. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxiv. Juvenile Palmer (female)

       1015. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1016. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1017. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1018. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxv. Juvenile Palmer (male)

       1019. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1020. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1021. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1022. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxvi. Leah Porter

       1023. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1024. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1025. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1026. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxvii. Hector Rodriguez

       1027. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 92

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1028. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1029. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1030. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxviii.    Oscar Concepcion Rodriguez

       1031. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1032. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1033. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1034. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxix.     Rosalind Rogers

       1035. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1036. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1037. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1038. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xi.     Mariah Smith

       1039. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1040. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1041. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xli.    Peter Sparks

       1042. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1043. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1044. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1045. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xlii.   Angel Vega

       1046. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1047. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1048. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1049. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xliii.   Christina Vitolo-Haddad

       1050. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1051. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1052. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1053. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xliv.    Gabriella Vitucci

       1054. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1055. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1056. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1057. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xlv.     Suzanne Wells

                                                 95

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       1058. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1059. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1060. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1061. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xlvi.   Brandon Wilborn

       1062. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1063. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1064. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1065. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xlvii. Sonja Worthy

       1066. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1067. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1068. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 96

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1069. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

               D.      RELEASE TO THE PUBLIC OF REDACTED “TPR TARGET
                       LIST” ON JULY 2, 2021

       1071. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1072. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1073. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1074. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1075. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       VIII. THE PEOPLE’S REVOLUTION TARGET LIST “TPR TARGET LIST”
             CREATED ON OR AROUND JUNE 5, 2020

               A.      BACKGROUND

       1076. Admit.

       1077. Admit.

       1078. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1079. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                 97

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       1080. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1081. Admit.

       1082. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1083. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1084. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1085. Admit.

       1086. Admit.

       1087. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1088. Admit that Defendant Ratkowski testified on June 23, 2021 “[t]he reason behind

that is because we don't have any active protests besides one. And, typically, pro-Trump/right-

wing extremist, don't go on social media.”

       1089. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1090. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1091. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1092. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                 98

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1093. Admit.

       1094. Admit.

       1095. Admit.

       1096. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1097. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1098. Admit.

       1099. Admit.

       1100. Admit.

       1101. Admit.

       1102. Admit.

       1103. Admit.

       1104. Admit.

       1105. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1106. Admit that Ratkowski testified he confirmed some of the telephone numbers

through ZETX.

       1107. Deny.

       1108. Deny.

       1109. Deny.

       1110. Deny.

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       1111. Deny.

       1112. Deny.

       1113. Deny.

       1114. Deny.

       1115. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1116. Deny.

       1117. Deny.

       1118. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

               E.      PLAINTIFFS’ ALLEGATIONS AS TO THE TRP TARGET LIST

                       i.      Tracy Cole

       1119. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1120. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1121. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1122. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1123. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1124. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                100

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1125. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1126. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ii.     Taleavia Cole

       1127. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1128. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1129. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1130. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1131. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1132. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1133. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       iii.    Tahudah Cole

       1134. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1135. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1136. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1137. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1138. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1139. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1140. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       iv.     Tristiana Walls

       1141. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1142. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1143. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1144. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1145. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1146. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1147. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       v.      Andrew Aaron

       1148. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1149. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1154. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vi.     Kamila Ahmed

       1155. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1156. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 103 of 138     Document 65
of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1157. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1158. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1161. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       vii.    Robert Agnew

       1162. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1163. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1167. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 104 of 138     Document 65
of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1168. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       viii.   Isiah Baldwin

       1169. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1170. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1175. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ix.     Jaqueline Bogenberger

       1176. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1177. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 105 of 138     Document 65
       1178. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1182. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       x.      Lavita Booker

       1183. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 106 of 138     Document 65
       1189. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xi.     Rebecca Burrell

       1190. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1191. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1196. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xii.    Raine Cich

       1197. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1198. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1199. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 107 of 138     Document 65
of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1200. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1201. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1203. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xiii.   Khalil Coleman

       1204. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1205. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 108 of 138     Document 65
of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xiv.    Steven Conklin

       1211. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1212. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xv.     Lauryn Cross

       1218. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1219. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 109 of 138     Document 65
       1221. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xvi.    Erik Fanning

       1225. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 110 of 138     Document 65
                       xvii.   Breon Foster

       1232. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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                       xviii. Christine Groppi

       1239. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 111 of 138     Document 65
of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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                       xix.    Gaige Grosskreutz

       1246. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xx.     Joseph Hayes

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       1253. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxi.    Percy Hayes

       1260. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 113 of 138     Document 65
       1264. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxii.   Mary Kachelski

       1267. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxiii. Sean Kafer

       1274. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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                       xxiv. Joey Koepp

       1281. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxv.    John Larry

       1288. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxvi. Alex Larson

       1295. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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      Case 2:20-cv-01660-NJ          Filed 09/10/21      Page 116 of 138     Document 65
       1296. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxvii. Sonora Larson

       1302. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxviii. Vaun Mayes

       1309. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxix. Molly Nilssen

       1316. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1317. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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       1322. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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                       xxx.    Carmen Palmer

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1329. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxi. Juvenile (female) Palmer

       1330. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1331. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1332. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1333. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1334. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1335. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1336. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxii. Juvenile Male Palmer

       1337. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1338. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                120

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       1339. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1340. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1341. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1342. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxiii. Oscar Concepcion Rodriguez

       1343. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1344. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1345. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1346. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1347. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1348. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1349. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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                       xxxiv. Rosalind Rogers

       1350. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1351. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1352. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1353. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1354. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1355. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1356. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxv. Madeline Schweitzer

       1357. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1358. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1359. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1360. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                122

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1361. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1362. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1363. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxvi. Mariah Smith

       1364. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1365. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1366. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1367. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1368. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1369. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1370. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxvii. Peter Sparks

                                                123

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       1371. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1372. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1373. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1374. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1375. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1376. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1377. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xxxviii.       Tiffany Stark

       1378. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1379. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1380. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1381. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                                                124

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       1382. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1383. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1384. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       ixl.    Angel Vega

       1385. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1386. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1387. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1388. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1389. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1390. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1391. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xl.     Gabriella Vitucci

       1392. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                125

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1393. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1394. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1395. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1396. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1397. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1398. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xli.    Oscar Walton

       1399. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1400. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1401. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1402. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1403. Lack knowledge and information sufficient to form a belief as to the truth or falsity

                                                126

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1404. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1405. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xlii.    Brandon Wilborn

       1406. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1407. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1408. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1409. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1410. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1411. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1412. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

                       xliii.   Katelyn Wojnar

       1413. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1414. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1415. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1416. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1417. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1418. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1419. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1420. Deny Defendants fabricated arrest records. As to the remaining allegations, lack

knowledge and information sufficient to form a belief as to the truth or falsity of this Paragraph,

and therefore deny and put Plaintiffs to their proof.

       1421. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1422. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1423. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.


                                            LEGAL CLAIMS


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                                    FIRST CLAIM FOR RELEIF
        Violation of Plaintiffs’ Fourth Amendment Rights to be Free from Unlawful Seizure

As to Plaintiffs: Tracy Cole, Taleavia Cole, Tahudah Cole, Tristiana Walls, Kathryn Knowlton,
Dana McCormick, Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin, Jacqueline
Bogenberger, Raine Cich, Rachel Dulay, Anne Delessio-Parson, Erik Fanning, , Jill Ferguson,
Breon Foster, Joanna Geisler, Joseph Hayes, Destiney Jones, Sonora Larson, Holly Lavora,
Lazarito Matheu, Molly Nilssen, Carmen Palmer, (Juvenile) Palmer, (Juvenile) Palmer, Leah
Porter, Aidali Rivera, William Rivera, Hector Rodriguez, Jose Hernandez Ramirez, Oscar
Concepcion Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith, Peter
Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells, Brandon
Wilborn, Katelyn Wojnar, Sonja Worthy, and Members Of The People’s Revolution An
Unincorporated entity hereinafter referred to as (TPR), on behalf of themselves and all others
similarly situated,

Against All Defendants:

       1424. These Defendants reallege and incorporate Paragraphs 1 through 1419 of this

Answer.

       1425.    Admit that Defendants were “persons” for purposes of 42 U.S.C. §1983 and acted

under color of state law. Deny that Plaintiffs have suffered a constitutional violation.

       1426. Deny.

       1427. Deny.

       1428. Deny.

       1429. Deny.

       1430. Deny.

       1431. Deny.

       1432. Deny.

       1433. Deny.



                                    SECOND CLAIM FOR RELIEF


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          Violation of Plaintiffs’ Fourth Amendment Right to be Free from Excessive Force

As to Plaintiffs Tracy Cole, Taleavia Cole, Tahudah Cole, Tristiana Walls, Kathryn Knowlton,
Dana McCormick, Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin, Jacqueline
Bogenberger, Raine Cich, Rachel Dulay, Anne Delessio-Parson, Erik Fanning, , Jill Ferguson,
Breon Foster, Joanna Geisler, Joseph Hayes, Destiney Jones, Sonora Larson, Holly Lavora,
Lazarito Matheu, Molly Nilssen, Carmen Palmer, (Juvenile) Palmer, (Juvenile) Palmer, Leah
Porter, Aidali Rivera, William Rivera, Hector Rodriguez, Jose Hernandez Ramirez, Oscar
Concepcion Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith, Peter
Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells, Brandon
Wilborn, Katelyn Wojnar, Sonja Worthy, and Members Of The People’s Revolution An
Unincorporated entity hereinafter referred to as (TPR), on behalf of themselves and all others
similarly situated,

Against All Defendants:

       1434. These Defendants reallege and incorporate Paragraphs 1 through 1433 of this

Answer.

       1435.    Admit that Defendants were “persons” for purposes of 42 U.S.C. §1983 and

acted under color of state law. Deny that Plaintiffs have suffered a constitutional violation.

       1436. Deny.

       1437. Deny.

       1438. Deny.

       1439. Deny.

                                    THIRD CLAIM FOR RELIEF
                      Violation of Plaintiffs’ Sixth Amendment Right to Counsel

As to Plaintiffs Taleavia Cole, Tahudah Cole, Kathryn Knowlton, Dana McCormick, Breon
Foster, Against All Defendant Law Enforcement:

       1440. These Defendants reallege and incorporate Paragraphs 1 through 1439 of this

Answer.

       1441. Lack knowledge and information sufficient to form a belief as to the truth or

falsity of this Paragraph, and therefore deny and put Plaintiffs to their proof.

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       1442. Deny.

       1443. Deny.

                                 FOURTH CLAIM FOR RELIEF
          Policy and Practice of Arrests for Unlawful Assembly in Violation of First and
                                 fourth Amendment Rights

As to Plaintiffs Tracy Cole, Taleavia Cole, Tahudah Cole, Tristiana Walls, Kathryn Knowlton,
Dana McCormick, Andrew Aaron, Kamila Ahmed, Robert Agnew, Isiah Baldwin, Jacqueline
Bogenberger, Raine Cich, Rachel Dulay, Anne Delessio-Parson, Erik Fanning, , Jill Ferguson,
Breon Foster, Joanna Geisler, Joseph Hayes, Destiney Jones, Sonora Larson, Holly Lavora,
Lazarito Matheu, Molly Nilssen, Carmen Palmer, (Juvenile) Palmer, (Juvenile) Palmer, Leah
Porter, Aidali Rivera, William Rivera, Hector Rodriguez, Jose Hernandez Ramirez, Oscar
Concepcion Rodriguez, Rosalind Rogers, Nathan Sabel, William Schroeder, Mariah Smith, Peter
Sparks, Angel Vega, Christina Vitolo-Haddad, Gabriella Vitucci, Suzanne Wells, Brandon
Wilborn, Katelyn Wojnar, Sonja Worthy, and Members Of The People’s Revolution An
Unincorporated entity hereinafter referred to as (TPR), on behalf of themselves and all others
similarly situated,

Against All Defendants:

       1444. These Defendants reallege and incorporate Paragraphs 1 through 1443 of this

Answer.

       1445. Deny.

       1446. Deny.

       1447. Deny.

       1448. Deny.

       1449. Deny.

                       FIFTH CLAIM FOR RELIEF – MONELL CLAIM
                           As to All Plaintiffs Against All Defendants:

       1450. These Defendants reallege and incorporate Paragraphs 1 through 1449 of this

Answer.

       1451. Deny.


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       1452. Deny.

       1453. Deny.

       1454. Deny.

                           SIXTH CLAIM FOR RELIEF
           VIOLATION OF THE FOURTH AND FOURTEENTH AMENDMENTS –
          UNLAWFUL SEARCH & SEIZURE OR PROPERTY – 42 U.S.C. §1983,

As to Plaintiffs Tracy Cole, Taleavia Cole, Tahudah Cole, Kathryn Knowlton, Dana McCormick,
Oscar Concepcion Rodriguez, Anne Delessio-Parson, Rachel Dulay, Erik Fanning, Jill Ferguson,
Breon Foster, Joanna Geiser, Christina Vitolo-Haddad, Joseph Hayes, Percy Hayes, Jose
Hernandez Ramirez, Destiney Jones, Joey Koepp, Sonora Larson, Holly Lavora, Lazarito Matheu,
Molly Nilssen, Carmen Palmer, (juvenile) Palmer, (juvenile) Palmer, Leah Porter, Aidali Rivera,
William Rivera, Hector Rodriguez, Nathan Sabel, William Schroeder, Mariah Smith, Peter Sparks,
Gabriella Vitucci, Suzanne Wells, Katelyn Wojnar, Sonja Worthy, Jacqueline Bogenberger, and
Raine Cich,

Against All relevant Defendant Officers and the City of Wauwatosa:

       1455. These Defendants reallege and incorporate Paragraphs 1 through 1454 of this

Answer.

       1456. Deny.

       1457. Deny.

       1458. Deny.

       1459. Deny.

                         SEVENTH CLAIM FOR RELIEF
          DEFENDANTS’ LAW ENFORCEMENT ACTIVITIES VIOLATE TITLE VI

As to All Plaintiffs Against All Defendants

       1460. These Defendants reallege and incorporate Paragraphs 1 through 1459 of this

Answer.

       1461. Admit.

       1462. Lack knowledge and information sufficient to form a belief as to the truth or falsity

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of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1463. Deny.

       1464. Deny.

                    EIGHT CLAIM FOR RELIEF – 42 U.S.C. §§1983, 1985, 1986
                      CONSPIRACY TO DEPRIVE PLAINTIFFS OF THEIR
                               CONSTITUTIONAL RIGHTS

       1465. These Defendants reallege and incorporate Paragraphs 1 through 1464 of this

Answer.

       1466. Deny.

       1467. Deny.

       1468. Deny.

       1469. Deny.

       1470. Deny.

       1471. Deny.

       1472. Deny.

       1473. Deny.

       1474. Deny.

       1475. Deny.

       1476. Deny.

       1477. Deny.

       1478. Deny.



          NINTH CLAIM FOR RELIEF – 42 U.S.C. §1983 Retaliation for Exercise of Free
                                       Speech
                       (As to All Plaintiffs Against All Defendants)

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       1479. These Defendants reallege and incorporate Paragraphs 1 through 1478 of this

Answer.

       1480. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1481. Deny.

       1482. Deny.

       1483. Deny.

       1484. Deny.

                             TENTH CLAIM FOR RELIEF
                VIOLATION OF THE DRIVER’S PRIVACY PROTECTION ACT.
                              (18 U.S.C. §2721, et seq.)

       1485. These Defendants reallege and incorporate Paragraphs 1 through 1484 of this

Answer.

       1486. Admit.

       1487. Admit.

       1488. Admit.

       1489. Admit.

       1490. Lack knowledge and information sufficient to form a belief as to the truth or falsity

of this Paragraph, and therefore deny and put Plaintiffs to their proof.

       1491. Deny.

       1492. Deny.

       1493. Deny.

       1494. Deny.



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               WHEREFORE, Plaintiffs respectfully pray that judgment be entered against

Defendants, jointly and severally, and request that the Court award the following relief:

       1.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       2.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       3.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       4.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       5.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       6.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       7.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       8.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       9.      These Defendants deny the Plaintiffs are entitled to the relief requested.

       10.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       11.     These Defendants deny the Plaintiffs are entitled to the relief requested.

               a) These Defendants deny the Plaintiffs are entitled to the relief requested.

               b) These Defendants deny the Plaintiffs are entitled to the relief requested.

               c) These Defendants deny the Plaintiffs are entitled to the relief requested.

               d) These Defendants deny the Plaintiffs are entitled to the relief requested.

               e) These Defendants deny the Plaintiffs are entitled to the relief requested.

       12.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       13.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       14.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       15.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       16.     These Defendants deny the Plaintiffs are entitled to the relief requested.
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       17.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       18.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       19.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       20.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       21.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       22.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       23.     These Defendants deny the Plaintiffs are entitled to the relief requested.

       24.     These Defendants deny the Plaintiffs are entitled to the relief requested.

                                  AFFIRMATIVE DEFENSES

       1.      Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.

       2.      Plaintiffs’ state law claims are subject to the procedural prerequisites for bringing

or maintaining a cause of action under § 893.80(1)(a) and (1)(b), Wis. Stats. and the exclusions,

immunities and limitations on liability set forth in § 893.80, Wis. Stats.

       3.      Any injuries or damages suffered by the Plaintiffs were caused by their own

conduct and/or the conduct and contributory negligence of a third party other than the Defendants.

       4.      The actions of the Plaintiffs were for the sole purpose of provoking law

enforcement to arrest them and were done for no other lawful reason.

       5.      The Plaintiffs may have failed to mitigate their damages.

       6.      Plaintiffs’ Complaint fails to state a cause of action against the City of Wauwatosa

pursuant to Monell v. Department of Social Services of the City of New York, 436 U.S. 658, 98

S.Ct. 2018, 56 L.Ed.2d 611 (1978) since there can be no recovery for a federal civil rights violation

where there is no constitutional depravation occurring pursuant to government policy, custom, or

practice.
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       7.      All of the acts for the answering Defendants were in good faith and not motivated

by malice or the intent to harm.

       8.      Plaintiffs are not entitled to punitive damages.

       9.      Defendants are entitled to qualified immunity from suit.

       10.     Defendants are entitled to discretionary act immunity.

       11.     The injuries and damages, if any, were not caused by a governmental policy or

practice of these Answering Defendants.

       12.     The Court lacks personal jurisdiction over the John Does because Plaintiffs have

not properly served them in this action.

       13.     One or more of Plaintiffs’ claims may not be cognizable by the Heck doctrine, the

lack of a seizure or the existence of probable cause.

       14.     No individual defendant can be found liable for the actions of any other individual

defendant(s) under a theory of respondeat superior, or supervisory liability.

       15.     Defendants are entitled to prosecutorial immunity.

       16.     Defendants are entitled to sovereign immunity.

       17.     Plaintiffs lack standing to sue.

       WHEREFORE, Defendants demand judgment dismissing this matter and awarding them

their costs and reasonable attorney’s fees.

                      THE DEFENDANTS DEMAND A JURY TRIAL




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Dated at Wauwatosa, Wisconsin this 10th day of September, 2021.

                                                  GUNTA LAW OFFICES, S.C.
                                                  Attorneys for Defendants


                                          BY:          /s/ Kiley B. Zellner
                                                  Gregg J. Gunta, WI Bar No. 1004322
                                                  Ann C. Wirth, WI Bar No. 1002469
                                                  Jasmyne M. Baynard, WI Bar No. 1099898
                                                  Kyle R. Moore, WI Bar No. 1101745
                                                  Kiley B. Zellner, WI Bar No. 1056806
                                                  9898 W. Bluemound Road, Suite 2
                                                  Wauwatosa, Wisconsin 53226
                                                  T: 414) 291-7979 / F: (414) 291-7960
                                                  Emails:         gjg@guntalaw.com
                                                                  acw@guntalaw.com
                                                                  jmb@guntalaw.com
                                                                  krm@guntalaw.com
                                                                  kbz@guntalaw.com




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